KUNG & BROWN

214 South Maryland Parkway

Las Vegas, Nevada 89101
Tel: (702) 382-0883 / Fax: (702) 382-2720

Co fo NY DH tr BB WY PP

et
&- Ww No —§& OS

15

Case 15-15722-abl Doc 910 Entered 06/29/17 15:15:12 Page 1of2

 

 

A.J. Kung, Esq.

Nevada Bar No. 7052

Georlen K. Spangler, Esq.

Nevada Bar No. 3818

KUNG & BROWN

214 South Maryland Parkway

Las Vegas, Nevada 89101

| (702) 382-0883 Telephone
(702) 382-2720 Facsimile

E-Mail:ajkung@ajkunglaw.com

gspangler@ajkunglaw.com

Attorneys for Capriati Construction Corp. Inc.

UNITED STATES BANKRUPTCY COURT
| DISTRICT OF NEVADA

ke *
In re:

CAPRIATI CONSTRUCTION CORP. INC. CASE NO.: BK-15-15722-abl

 

Debtor. Chapter 11

 

NOTICE OF APPEAL AND STATEMENT OF ELECTION

Part 1: Identify the appellant(s)
1. Name(s) of appellant(s): ,
Capriati Construction Corp. Inc.

2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of
this appeal:

For appeals in an adversary proceeding. For appeals in a bankruptcy case and not in

O Plaintiff an adversary proceeding.
O Defendant X Debtor
L] Other (describe) O Creditor

1] Trustee

 

L) Other (describe)

 

Part 2: Identify the subject of this appeal
1. Describe the judgment, order, or decree appealed from: Order Denying Motion for Contempt

of Court; and for Sanctions and Attorney’s Fees for Creditor Sper Inc.’s Willful Violation of: (1)

Page 1 of 2

 
Las Vegas, Nevada 89101
Tel: (702) 382-0883 / Fax: (702) 382-2720

KUNG & BROWN
214 South Maryland Parkway

|

 

Case 15-15722-abl Doc910 Entered 06/29/17 15:15:12 Page 2 of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

1 |] the Plan Injunction/Discharge Pursuant to 11 U.S.C. §524 and §1141; and (2) the Automatic Stay
, Pursuant to 11 U.S.C. §362 (“Motion”) [ECF No. 851]
3 I 2. State the date on which the judgment, order, or decree was entered: June 16, 2017
4 || Part 3: Identify the other parties to the appeal
List the names of all parties to the judgment, order, or decree appealed from and the names,
5 || addresses, and telephone numbers of their attorneys (attach additional pages if necessary):
i
614, Party: SPER, Inc. Attorney: Susan Frankewich, Esq.
7 3202 West Charleston Blvd.
Las Vegas, NV 89102
8 (702) 855-2088
9 2. Party: SPER, Inc. Attorney: H. Stan Johnson, Esq.
10 Cohen, Johnson, Edwards, Parker
255 E. Warm Springs Road, Ste. 100
11 Las Vegas, NV 89119
(702) 823-3500
12 ||
rr Part 4: Optional election to have appeal heard by District Court (applicable
only in certain districts)
14
If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate
15 || Panel will hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the
appeal heard by the United States District Court. If an appellant filing this notice wishes to have
16 | the appeal heard by the United States District Court, check below. Do not check the box if the
17 appellant wishes the Bankruptcy Appellate Panel to hear the appeal.
18 (1 Appellant(s) elect to have the appeal heard by the United States District Court rather
than by the B ptcy Appellate Panel
19
Part 5:
20
21 Date: June 29, 2017
Stpnathre Sf aftorney for appellant(s)
22 || (or appellant(s) if npt represented by an attorney)
23 || Name, addre d telephone number of attorney
24 (or appellant(s) if not represented by an attorney):
A.J. Kung, Esq.
95 || KUNG & BROWN
214 South Maryland Pkwy.
26 |} Las Vegas, NV 89101
(702) 382-0883
27
2g || Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the

form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.

Page 2 of 2

 
